Case 2:05-cr-20049-BBD Document 20 Filed 04/25/05 Page 1 of 2 PagelD 18

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE I'.`.`i":`s' ,-¢.r":=§ 313 itt it 1 -=
WESTERN D|V|S|ON

 

 

UN|TED STATES OF Ai\/|ER|CA
Plaintiff

VS.
CR. NO. 05-20049-D

NORMAN CARR|CK

Defendant.

 

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AND §E_',LNG_

 

This cause came on for a report date on April 19, 2005. At that time, counsel for the
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a gap£r_t

date of Thursday, May19, 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federa|
Building, l\/lemphis, TN.

 

The period from |Viay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) becausethe ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this§.$ day Of Apri|, 2005.

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This document entered on the docket sheet in com ?.ce
with Ru|e 55 and/er 32(b bFRCrP) on

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Honorable Berniee Donald
US DISTRICT COURT

